        Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
                                    :
CATHY LOCKARD                       :
7 West County Line Road             :
Hatboro, PA 19040                   :           JURY TRIAL DEMANDED
                                    :
Plaintiff,                          :
                                    :
        v.                          :
                                    :           CASE NO.
AMERICAN SERVICE CORPORTATION :
2241 Providence Avenue              :
Chester, PA 19013                   :
                                    :
              Defendant.            :

                                CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

       1.      Plaintiff, Cathy Lockard (hereinafter “Plaintiff” or “Lockard”), is an adult

individual residing at 7 West County Line Road, Hatboro, Montgomery County, Pennsylvania.

       2.      Defendant, American Service Corporation (hereinafter “ASC”) is, upon

information and belief, a corporation, organized and existing under the laws of the State of

Delaware, registered to do business in Pennsylvania, with a principal place of business at 2241

Providence Avenue, Chester, Delaware County, Pennsylvania.

       3.      At all times material hereto, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

       4.      Plaintiff exhausted her administrative remedies pursuant to the Equal

Employment Opportunity Act and Pennsylvania Human Relations Act as more than one year has

elapsed since the filing of Ms. Lockard’s charge of discrimination. (See Exhibit “A,” a true and
         Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 2 of 12




correct copy of a dismissal and notice of rights issued by the Equal Employment Opportunity

Commission).

       5.      This action is instituted pursuant to the Title VII of the Civil Rights Act of 1964,

the Age Discrimination in Employment Act (“ADEA”) the Pennsylvania Human Relations Act,

and applicable federal and state law.

       6.      Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343. This Court has

supplemental jurisdiction over related state law claims because they arise out of the same

circumstances and are based upon a common nucleus of operative fact.

       7.      Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because Defendant conducts business in this district, and because a substantial part of the

acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.

Plaintiff was working for Defendant in the Eastern District of Pennsylvania at the time of the

illegal actions by Defendants as set forth herein.

II. Operative Facts.

       8.      On or about July 31, 2008, ASC, hired Ms. Lockard to work as a Site Manager at

The Shipley School.

       9.      At the time of her hiring, Ms. Lockard was forty-eight (48) years old.

       10.     Throughout her employment with ASC, Ms. Lockard was qualified for her

position with Defendant and performed her duties with minimal complaint and issue.

       11.       At all times relevant hereto, Ms. Lockard was the only female working for ASC

at The Shipley School and, upon information and belief, was the oldest employee of ASC

working at The Shipley School.

       12.     On or about April 7, 2020, Ms. Lockard received a letter from ASC, signed by

Jennifer McCaul, Defendant’s Office Manager, stating that Ms. Lockard’s position with ASC
                                                  2
           Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 3 of 12




was eliminated due the closure of The Shipley School. A true and correct copy of the letter is

attached hereto as Exhibit “B.”

          13.   The letter further stated that ASC intends to rehire everyone when The Shipley

School reopened. See Exhibit “B.”

          14.    Despite expecting to be called to work as the letter stated, Ms. Lockard never

was notified that she was able to return to work.

          15.    In or about June 2020, Ms. Lockard was informed that all other ASC employees

were recalled to work at The Shipley School, except for Ms. Lockard; Defendant further

confirmed this information during the EEOC’s investigation of Defendant.

          16.    After hearing this news, Ms. Lockard sent American Services Corporation a

letter inquiring when she would be returning to work but received no response.

          17.    Ms. Lockard later learned that her position of site manager was filled by

Zuoman Kieta, Ms. Lockard’s direct report who is both male and younger than Ms. Lockard.

          18.   Defendant never recalled Ms. Lockard to work at The Shipley School or any

location serviced by Defendant.

          19.   Based on Defendant’s actions/inaction, it was clear that Ms. Lockard’s

employment was terminated by Defendant.

          20.   At the time of her termination of employment, Ms. Lockard was sixty (60) years

of age.

          21.   Ms. Lockard was never provided a reason why Defendant never recalled her to

work.

          22.   Upon information and belief, Defendant chose to replace Ms. Lockard with a

younger male despite Ms. Lockard’s dedication and service to Defendant, without just cause, and

in violation of the ADEA and Title VII of the Civil Rights Act.
                                                    3
        Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 4 of 12




       23.     As a direct and proximate result of Defendant’s conduct in terminating Plaintiff’s

employment, Plaintiff sustained great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, as well emotional distress, humiliation, pain and suffering and

other damages as set forth below.

III. Causes of Action.

                                    COUNT I
             VIOLATION OF AGE DISCRIMIATION IN EMPLOYMENT ACT
                            (29 U.S.C.A. § 621 et seq.)

       24.     Plaintiff incorporates paragraphs 1-23 as if fully set forth at length herein.

       25.     Defendant took adverse action against Plaintiff by discriminating against her as

set forth above and terminating her employment.

       26.     Plaintiff’s status as a sixty-year-old places her in a protected class.

       27.     Plaintiff’s membership in a protected class was a motivating factor in Defendant’s

decision to discriminate against Ms. Lockard and terminate her employment.

       28.     As such, Defendant’s decision to discriminate against Ms. Lockard and to

terminate her employment is an unlawful employment practice, under 42. U.S.C. § 2000e-2(a).

       29.     As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff

has also sustained work loss, loss of opportunity, and a permanent diminution of earning power

and capacity and a claim is made therefore.

       30.     As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.



                                                  4
        Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 5 of 12




       31.     Pursuant to the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a), et seq., Plaintiff

demands attorneys’ fees and court costs.

                                   COUNT II
                VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                            SEX DISCRIMINATION
                            (42 U.S.C.A. § 2000e-2(a))

       32.     Plaintiff incorporates paragraphs 1-31 as if fully set forth at length herein.

       33.     Defendant took adverse action against Plaintiff by discriminating against her and

terminating her employment.

       34.     Plaintiff’s status as a female places her in a protected class.

       35.     Plaintiff’s membership in a protected class was a motivating factor in Defendant’s

decision to discriminate against Plaintiff and terminate her employment.

       36.     As such, Defendant’s decision to discriminate and to terminate Plaintiff’s

employment is an unlawful employment practice, under 42. U.S.C. § 2000e-2(a).

       37.     As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, mental anguish, humiliation, pain and suffering, consequential damages and Ms.

Lockard has also sustained work loss, loss of opportunity, and a permanent diminution of earning

power and capacity and a claim is made therefore.

       38.     As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.

       39.     Pursuant to the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a), et seq., Plaintiff

demands attorneys’ fees and court costs.




                                                  5
         Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 6 of 12




                               COUNT III
          VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT
                          AGE DISCRIMINATION
                              (43 P.S. § 955)

       40.     Plaintiff incorporates paragraphs 1-39 as if fully set forth at length herein.

       41.     At all times material hereto, and pursuant to the Pennsylvania Human Relations

Act, 43 P.S. § 951, et seq., an employer may not discriminate against an employee based on age.

       42.     Plaintiff is a qualified employee and person within the definition of Pennsylvania

Human Relations Act, 43 P.S. § 951, et seq.

       43.     Defendant is an “employer” and thereby subject to the strictures of the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

       44.     Defendant’s conduct in discriminating against Plaintiff terminating Plaintiff’s

employment are adverse employment actions, were taken as a result of her age and constitute a

violation of the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

       45.     As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, loss of tips as well as

emotional distress, mental anguish, humiliation, pain and suffering, consequential damages and

Plaintiff has also sustained work loss, loss of opportunity, and a permanent diminution of her

earning power and capacity and a claim is made therefore.

       46.     Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,

Plaintiff demands attorney’s fees and court costs.

                               COUNT IV
          VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT
                          SEX DISCRIMINATION
                              (43 P.S. § 955)



                                                  6
         Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 7 of 12




       47.      Plaintiff incorporates paragraphs 1-46 as if fully set forth at length herein.

       48.      At all times material hereto, and pursuant to the Pennsylvania Human Relations

Act, 43 P.S. § 951, et seq., an employer may not discriminate against an employee based on sex.

       49.      Plaintiff is a qualified employee and person within the definition of Pennsylvania

Human Relations Act, 43 P.S. § 951, et seq.

       50.      Defendant is an “employer” and thereby subject to the strictures of the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

       51.      Defendant’s conduct in discriminating against Plaintiff terminating Plaintiff’s

employment are adverse employment actions, were taken as a result of her sex and constitute a

violation of the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

       52.      As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, loss of tips as well as

emotional distress, mental anguish, humiliation, pain and suffering, consequential damages and

Plaintiff has also sustained work loss, loss of opportunity, and a permanent diminution of her

earning power and capacity and a claim is made therefore.

       53.      Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,

Plaintiff demands attorney’s fees and court costs.

       WHEREFORE, Plaintiff, Cathy Lockard, seeks damages in excess of $150,000.00 and

legal and equitable relief in connection with Defendant’s improper conduct, and specifically

prays that the Court grant the following relief to Plaintiff by:

       A. Compensatory damages, including but not limited to: back pay, front pay, past lost

             wages, future lost wages. Lost pay increases, lost pay incentives, lost opportunity, lost



                                                   7
       Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 8 of 12




         benefits, lost future earning capacity, injury to reputation, mental and emotional

         distress, pain and suffering

      B. Punitive damages;

      C. Attorneys’ fees and costs of suit;

      D. Interest, delay damages; and,

      E. Any other further relief this Court deems just proper and equitable.



                                    LAW OFFICES OF ERIC A. SHORE, P.C.



                                    BY:____________________________
                                      ROBERT H. GRAFF, ESQUIRE (PA I.D. 206233)
                                      600 N. Jackson Street, Suite 201
                                      Media, PA 19063
                                      Ph: 267-546-0138
                                      Fx: 215-944-6124
                                      Attorney for Plaintiff, Cathy Lockard
     08/16/2021
Date:________




                                              8
Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 9 of 12




EXHIBIT “A”
                          Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 10 of 12
EEOC Form 161 (11/2020)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
To:    Cathy Lockard                                                                   From:     Philadelphia District Office
       7 West County Line Road                                                                   801 Market Street
       Hatboro, PA 19040                                                                         Suite 1000
                                                                                                 Philadelphia, PA 19107


                             On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                  EEOC Representative                                                    Telephone No.

                                                 Legal Unit,
530-2020-05382                                   Legal Technician                                                       (267) 589-9700
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                      On behalf of the Commission

                                                                                                                      June 16, 2021




Enclosures(s)                                                                                                                   (Date Issued)
                                                                     Dana R. Hutter,
                                                                     Deputy Director
Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 11 of 12




EXHIBIT “B”
Case 2:21-cv-03635-GEKP Document 1 Filed 08/16/21 Page 12 of 12
